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 8   Attorneys for Defendant
     California Department of Social Services
 9   (erroneously sued as the State of California and the
     Health and Human Services Agency)
10

11                            IN THE UNITED STATES DISTRICT COURT

12                         FOR THE EASTERN DISTRICT OF CALIFORNIA

13

14   CLARICE SANDERS-HOLLIS,                               Case No. 2:19-cv-00092-KJM-DB
15                                     Plaintiff, DECLARATION OF CORI R. SARNO IN
                                                  SUPPORT OF CALIFORNIA
16               v.                               DEPARTMENT OF SOCIAL SERVICES’
                                                  MOTION TO DISMISS PURSUANT TO
17                                                FEDERAL RULE OF CIVIL
     STATE OF CALIFORNIA, HEALTH AND PROCEDURE RULE (12)(b)(6)
18   HUMAN SERVICES AGENCY,
     DEPARTMENT OF SOCIAL SERVICES;               Date:          November 22, 2019
19   and DOES 1 through 20, inclusive,            Time:          10:00 a.m.
                                                  Dept:          3, 15th Floor
20                                  Defendants. Judge:           The Honorable Kimberly J.
                                                                 Mueller
21                                                Trial Date:    None Set
                                                  Action Filed: 8/20/2018
22

23         I, Cori R. Sarno declare:

24         1.    I am an attorney at law duly licensed to practice law before all courts of the State of

25   California and the United States District Court for the Eastern District of California. I have been

26   appointed and serve as a Deputy Attorney General in the Office of the Attorney General, and am

27   counsel of record for Defendant the California Department of Social Services. If called upon to,

28   I can testify competently and from personal knowledge to the following.
                                                    1
                                Declaration of Cori R. Sarno in Support of California Department of Social Services’
                                                              Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
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 1         2.    I received the Plaintiff Clarice Sanders-Hollis’ first amended complaint on or around

 2   October 11, 2019. The following Monday, I sent the Plaintiff’s Counsel, Mike Freiman an email

 3   in which I indicated that I wanted to meet and confer regarding the insufficiencies in the first

 4   amended complaint. Thereafter we had a phone conversation. During the conversation I relayed

 5   that from what I had seen from the records I requested from the DFEH, I was concerned

 6   regarding whether Plaintiff’s claims had been timely exhausted. I was also concerned that the

 7   lack of factual information in the complaint did not give me any information regarding who the

 8   alleged wrongdoers were, when the wrongdoing occurred Mr. Freiman disagreed, and claimed

 9   that nowhere is he required to allege the dates of the events at issue or any further factual detail.

10   As we were not able to come to agreement on the sufficiency of the first amended complaint,

11   I decided that another motion to dismiss should be filed.

12         3.    Defendant has submitted a request for judicial notice in support of the motion to

13   dismiss. The documents attached thereto are all true and correct copies of the documents

14   obtained by my office pursuant to public records act requests to the Department of Fair

15   Employment and Housing. We have not yet received the records requested from the Equal

16   Employment Opportunity Commission. Specifically, Defendant has asked the Court to take

17   judicial notice of the following in considering the motion to dismiss:

18                 a. Attached as Exhibit A to the Request for Judicial Notice is a true and correct

19                     copy of the Acknowledgement of Inquiry Filing, dated April 3, 2016, my office

20                     obtained pursuant to our request for public records from the California DFEH;

21                 b. Attached as Exhibit B to the Request for Judicial Notice is a true and correct

22                     copy of Notice of Pre-Complaint Inquiry Closure, dated July 19, 2016, my

23                     office obtained pursuant to our request for public records from the California

24                     DFEH;

25                 c. Attached as Exhibit C to the Request for Judicial Notice is a true and correct

26                     copy of Plaintiff’s DFEH Complaint, No. 201808-03290420, dated August 20,

27                     2018, my office obtained pursuant to our request for public records from the

28                     California DFEH;
                                                          2
                                 Declaration of Cori R. Sarno in Support of California Department of Social Services’
                                                               Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
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 1                    d. Attached as Exhibit D to the Request for Judicial Notice is a true and correct

 2                         copy of Plaintiff’s Notice of Case Closure and Right to Sue, dated August 20,

 3                         2018, my office obtained pursuant to our request for public records from the

 4                         California DFEH;

 5                    e. Attached as Exhibit E to the Request for Judicial Notice is a true and correct

 6                         copy of Plaintiff’s DFEH Complaint, No. 555-2016-01065, dated July 25, 2016,

 7                         my office obtained pursuant to our request for public records from the California

 8                         DFEH;

 9                    f. Attached as Exhibit F to the Request for Judicial Notice is a true and correct

10                         copy of Notice to Complainant of Right to Sue from the DFEH, dated

11                         August 15, 2016 my office obtained pursuant to our request for public records

12                         from the California DFEH.

13                    g. Attached as Exhibit G to the Request for Judicial Notice is a true and correct

14                         copy of the employee separation form indicating that Plaintiff was separated

15                         from the Department of Social Services employment on or around January 8,

16                         2018, in order to transfer to CalTrans, another state agency.

17          4.      In light of the need for another motion under FRCP 12(b)(6), I enlisted the assistance

18   of one of my office’s newest attorneys, David Kim who has less than one year experience as an

19   attorney, to assist with drafting the motion to dismiss, in hopes he would have the opportunity to

20   argue the motion. Mr. Kim has never argued a motion in court and is excited at the prospect of

21   arguing the instant motion should the Court be willing to entertain oral argument.

22          I declare under penalty of perjury under the laws of the state of California that the foregoing

23   is true and correct.

24          Executed this 21st day of October, 2019 in Sacramento, California.

25                                                                          /s/ Cori R. Sarno
                                                                      __________________________________
26                                                                     CORI R. SARNO
27   SA2019100060
     Declaration of Cori Sarno iso Motion to Dismiss.docx
28
                                                                3
                                       Declaration of Cori R. Sarno in Support of California Department of Social Services’
                                                                     Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
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                              CERTIFICATE OF SERVICE
Case Name:     Clarice Sanders-Hollis v. State            No.    2:19-cv-00092-KJM-DB
               of California, Health and
               Human Services Agency,
               Department of Social Services

I hereby certify that on October 21, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
DECLARATION OF CORI R. SARNO IN SUPPORT OF CALIFORNIA DEPARTMENT
OF SOCIAL SERVICES’ MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE RULE (12)(b)(6)
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on October 21, 2019, at Sacramento,
California.


           Marianne Baschiera                                /s/ Marianne Baschiera
               Declarant                                            Signature

SA2019100060
POS dec.docx
